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 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA,                    )    CASE NO.:     1:10-cr-00249 AWI
11                                                 )
                          Plaintiff,               )    UNITED STATES’ NOTICE AND
12                                                 )    REQUEST FOR HEARING RE STATUS
                    v.                             )    OF COUNSEL FOR DEFENDANT
13                                                 )    EVELYN SANCHEZ;
      ERIC RAY HERNANDEZ,                          )    ORDER
14    MONICA MARIE HERNANDEZ, aka                  )
      Monica Marie Duarte,                         )
15    EVELYN BRIGGET SANCHEZ,                      )    Hearing Date: Jan. 17, 2012
      PATRICIA ANN KING, and                       )    Hearing Time: 9:00 a.m.
16    DARLING ARLETTE MONTALVO,                    )    Court:         Two
                                                   )      (Hon. Anthony W. Ishii)
17                        Defendants.              )
                                                   )
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20          The United States respectfully notifies the Court that the
21   California State Bar website indicates that attorney Robert Dowd,
22   counsel for defendant Evelyn Sanchez, is not eligible to practice law
23   and that the effective date of his suspension was November 18, 2011.
24   The California Supreme Court order concerning Mr. Dowd’s suspension,
25   a copy of which is attached hereto, indicates that Mr. Dowd is
26   suspended from the practice of law for 90 days.
27          It appears that defendant Evelyn Sanchez is not currently
28   represented by counsel.           There are upcoming case deadlines including
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                                          Stipulation & Order
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 1   motion in limine filing deadlines on January 23, February 13, and
 2   February 27; the trial confirmation and motions in limine hearing on
 3   March 5; and the trial on March 20, 2012.
 4          Accordingly, the government respectfully requests that the Court
 5   set a hearing in this case on January 17, 2012, at 9:00 a.m. to
 6   address the status of defendant Sanchez’s legal representation.
 7   DATED:     Jan. 4, 2012
 8                                                     Respectfully Submitted,
 9                                                     BENJAMIN B. WAGNER
                                                       United States Attorney
10
                                               By: /s/ Kirk E. Sherriff
11                                                 KIRK E. SHERRIFF
                                                   HENRY Z. CARBAJAL
12                                                 Assistant U.S. Attorneys
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14
15                                              ORDER
16          It is ordered that defendant Evelyn Sanchez appear for a hearing
17   before this Court on January 17, 2012, at 9:00 a.m., in
18   Courtroom Two.
19   IT IS SO ORDERED.
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     Dated:          January 4, 2012
21   0m8i78                                   CHIEF UNITED STATES DISTRICT JUDGE
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